     Case 7:25-cv-00055-O       Document 6       Filed 06/04/25       Page 1 of 3     PageID 23



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,                            CIVIL No. 7:25-cv-00055

v.
                                                      JOINT MOTION FOR ENTRY OF
STATE OF TEXAS,                                       CONSENT JUDGMENT

                Defendant.


       The United States of America (Plaintiff) and the State of Texas (Defendant) jointly move this

Court to enter the attached proposed Consent Judgment as to the claim and prayer for relief

outlined in the Complaint. ECF No.1. In support of this motion, the Parties incorporate the

allegations in the Complaint by reference and state the following:

         1.     Plaintiff filed suit against Defendant on June 4, 2025.

         2.     The Parties agree the Court has jurisdiction over this action under 28 U.S.C.

§§ 1331 and 1345 and venue is proper under 28 U.S.C. § 1391(b).

         3.     In the Complaint, Plaintiff challenged the provisions at Texas Education Code

§§ 54.051(m) and 54.052(a) as expressly preempted by federal immigration law at 8 U.S.C.

§ 1623.

         4.     Plaintiff requested that this Court enter a judgment declaring that the challenged

provisions, as applied to aliens who are not lawfully present in the United States, violate the

Supremacy Clause and therefore are unconstitutional and invalid. Plaintiff also requested that the

Court issue a permanent injunction prohibiting Defendant from enforcing the challenged

provisions as applied to aliens who are not lawfully present in the United States.
  Case 7:25-cv-00055-O          Document 6        Filed 06/04/25        Page 2 of 3      PageID 24



        5.      The Parties agree the Court has the authority to provide the requested relief under

the Supremacy Clause, U.S. Const. art. VI, cl. 2, as well as 28 U.S.C. §§ 1651, 2201, and 2202,

and its inherent equitable powers.

        6.      Federal law at Section 1623(a) of Title 8 of the United States Code expressly

provides that “an alien who is not lawfully present in the United States shall not be eligible on the

basis of residence within a State . . . for any postsecondary education benefit unless a citizen or

national of the United States is eligible for such a benefit . . . without regard to whether the citizen

or national is such a resident.” 8 U.S.C. § 1623(a).

        7.      In direct and express conflict with federal law, Texas education law specifically

allows an alien who is not lawfully present in the United States to qualify for in-state tuition based

on residence within the state, while explicitly denying resident-based tuition rates to U.S. citizens

that do not qualify as Texas residents. See Texas Education Code §§ 54.051(m), 54.052(a)(3).

        8.      The Parties agree that federal law at 8 U.S.C. § 1623(a) expressly preempts the

Texas Education Code provisions—§§ 54.051(m), 54.052(a)—that grant benefits to aliens, who

are not lawfully present in the United States, based on their residency in Texas, that are not

available to all U.S. citizens regardless of residency. See Texas Education Code

§§ 54.051(m), 54.052(a); Young Conservatives of Texas Foundation, 73 F.4th at 313 (“No matter

what a state says, if a state did not make U.S. citizens eligible, illegal aliens cannot be eligible.”).

        9.      Accordingly, the Parties request that the Court enter a final judgment declaring that

the challenged provisions, Texas Education Code §§ 54.051(m), 54.052(a), as applied to aliens

who are not lawfully present in the United States, violate the Supremacy Clause and are therefore

unconstitutional and invalid.




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 Case 7:25-cv-00055-O          Document 6       Filed 06/04/25       Page 3 of 3       PageID 25



       10.     The Parties request that that this Court issue a permanent injunction that prohibits

Defendant as well as its successors, agents, and employees, from enforcing the challenged

provisions as applied to aliens who are not lawfully present in the United States.

       11.     The Parties agree that each party will bear their own costs and fees.


DATED: June 4, 2025                                  Respectfully submitted,

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